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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

PINK FLOYD (1987) LIMITED,

       Plaintiff,                                         Case No.: 1:18-cv-3996

v.                                                        Judge Robert W. Gettleman

THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge Michael T. Mason
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on August 14, 2018 [41] and

 September 26, 2018 [55], in favor of Plaintiff and against the Defendants Identified in Amended

 Schedule A. Plaintiff acknowledges payment of an agreed upon damages amount, costs, and

 interest and desires to release this judgment and hereby fully and completely satisfy the same as

 to the following Defendants:

               NO.                              DEFENDANT
               115                                aiquanstore
               368                                HomecnelD
               647                               sdtaoshengjiu
               178                                caorenliang
               518                                 lutingstore
               873                              zhangchanstore
               230                                   Di6JD
               753                            wangjiaxiaodianpuo
               706                                 sunhua88
               459                                  leixiang
               894                              zhuanmingstore
               494                                  liuziqi79
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              195                                   chenping92



       THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




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